                        CASE 0:18-cv-00640-WMW-ECW Doc. 3 Filed 03/08/18 Page 1 of 4

AO 440 (Rev. 02/09) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                            District of Minnesota


Jocelyn Mammen,

                                                    Plaintiff,

v.                                                                               Case No. 0:18−cv−00640−WMW−BRT

Hartford Life & Accident Insurance
Company, et al.,

                                                    Defendant.




                                                   SUMMONS IN A CIVIL ACTION

To: Hartford Life & Accident Insurance Company


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     Denise Yegge Tataryn
                                     8050 W 78th St
                                     Edina, MN
                                     55439

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

KATE FOGARTY, CLERK OF COURT                                     By:




                                                                        Jennifer Dunbar Fannemel


Date of Issuance: March 8, 2018
                        CASE 0:18-cv-00640-WMW-ECW Doc. 3 Filed 03/08/18 Page 2 of 4

AO 440 (Rev. 02/09) Summons in a Civil Action



                                                Summons and Complaint Return of Service
                                                                       Case No. 0:18−cv−00640−WMW−BRT



A copy of the Summons and Complaint has been served in the manner indicated below:

Name of Defendant Served:                            Hartford Life & Accident Insurance Company

Date of Service:



                                                            Method of Service

         Personally served at this address:




         Left copies at defendant's usual place of abode with (name of person):




         Other (specify):




         Returned unexecuted (reason):




Service Fees:                  Travel $              Service $         Total $



                                                          Declaration of Server

I declare under the penalty of perjury that the information contained in this Return of Service is true and correct.

Name of Server:

Signature of Server:

Date:

Server's Address:
                        CASE 0:18-cv-00640-WMW-ECW Doc. 3 Filed 03/08/18 Page 3 of 4

AO 440 (Rev. 02/09) Summons in a Civil Action




                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                            District of Minnesota


Jocelyn Mammen,

                                                    Plaintiff,

v.                                                                               Case No. 0:18−cv−00640−WMW−BRT

Hartford Life & Accident Insurance
Company, et al.,

                                                    Defendant.




                                                   SUMMONS IN A CIVIL ACTION

To: Target Corporation − LTD Reserve Buy−Out, Plan/Plan Administrator


         A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R.
Civ. P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12
of the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

                                     Denise Yegge Tataryn
                                     8050 W 78th St
                                     Edina, MN
                                     55439

If you fail to respond, judgment by default may be entered against you for the relief demanded in the complaint. You
also must file your answer or motion with the court.

KATE FOGARTY, CLERK OF COURT                                     By:




                                                                        Jennifer Dunbar Fannemel


Date of Issuance: March 8, 2018
                        CASE 0:18-cv-00640-WMW-ECW Doc. 3 Filed 03/08/18 Page 4 of 4

AO 440 (Rev. 02/09) Summons in a Civil Action



                                                Summons and Complaint Return of Service
                                                                       Case No. 0:18−cv−00640−WMW−BRT



A copy of the Summons and Complaint has been served in the manner indicated below:

Name of Defendant Served:                            Target Corporation − LTD Reserve Buy−Out, Plan/Plan Administrator

Date of Service:



                                                            Method of Service

         Personally served at this address:




         Left copies at defendant's usual place of abode with (name of person):




         Other (specify):




         Returned unexecuted (reason):




Service Fees:                  Travel $              Service $          Total $



                                                          Declaration of Server

I declare under the penalty of perjury that the information contained in this Return of Service is true and correct.

Name of Server:

Signature of Server:

Date:

Server's Address:
